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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

DERRICK DAVIS                                                             PLAINTIFF

v.                                      No. 4:21-cv-763 JM

CITY OF LITTLE ROCK; KENTON BUCKNER,
Individually and in his official capacity; MARK
ISON; ROBERT BELL, individually,
ZACHARY HARDMAN, individually                                             DEFENDANTS


                                           JUDGMENT

       Pursuant to the Order entered on this day, Judgment is hereby entered in favor of the

Defendants and against the Plaintiff.

       IT IS SO ORDERED this 3rd day of March, 2023.



                                                     ___________________________________
                                                     UNITED STATES DISTRICT JUDGE
